                     UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                          3:23-cv-00378-RJC-SCR


ERICA HORNE,                                     )
                                                 )
               Plaintiff,                        )
                                                 )
                      v.                         )
                                                 )              ORDER
CREDIT ACCEPTANCE CORP.,                         )
                                                 )
               Defendant.                        )
                                                 )

        THIS MATTER is before the Court following pro se Plaintiff’s failure to

respond to the Court’s Order to Show Cause entered on November 12, 2024, (Doc. No.

18), Defendant’s Motion to Dismiss Lack of Prosecution, (Doc. No. 17), and the

Magistrate Judge’s Memorandum and Recommendation (“M&R”), (Doc. No. 20),

recommending that this Court grant Defendant’s motion and dismiss the case with

prejudice. The parties have not filed objections to the M&R and the time for doing so

has expired. Fed. R. Civ. P. 72(b)(2).

II.     STANDARD OF REVIEW

        A district court may assign dispositive pretrial matters, including motions to

dismiss, to a magistrate judge for “proposed findings of fact and recommendations.”

28 U.S.C. § 636(b)(1)(A) & (B). The Federal Magistrate Act provides that a district

court “shall make a de novo determination of those portions of the report or specified

proposed findings or recommendations to which objection is made.” Id. § 636(b)(1)(C);

Fed. R. Civ. P. 72(b)(3). However, “when objections to strictly legal issues are raised


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and no factual issues are challenged, de novo review of the record may be dispensed

with.” Orpiano v. Johnson, 687 F.2d 44, 47 (4th Cir. 1982). De novo review is also not

required “when a party makes general and conclusory objections that do not direct

the court to a specific error in the magistrate’s proposed findings and

recommendations.” Id. Similarly, when no objection is filed, “a district court need not

conduct a de novo review, but instead must ‘only satisfy itself that there is no clear

error on the face of the record in order to accept the recommendation.’” Diamond v.

Colonial Life & Acc. Ins. Co., 416 F.3d 310, 315 (4th Cir. 2005) (quoting Fed. R. Civ.

P. 72, advisory committee note).

III.     DISCUSSION

         Under Rule 72(b) of the Federal Rules of Civil Procedure, a district court judge

shall make a de novo determination of any portion of an M&R to which specific

written objection has been made. No objection to the M&R having been filed, and the

time for doing so having passed, the parties have waived their right to de novo review

of any issue covered in the M&R. Nevertheless, this Court has conducted a full review

of the M&R and other documents of record, and having done so, hereby finds that the

recommendation of the Magistrate Judge is, in all respects, in accordance with the

law and should be approved. Accordingly, the Court ADOPTS the recommendation

of the Magistrate Judge as its own.

IV.      CONCLUSION

         IT IS, THEREFORE, ORDERED that:

         1. The Magistrate Judge’s M&R, (Doc. No. 20), is ADOPTED;

         2. Defendant’s Motion to Dismiss, (Doc. No. 17), is GRANTED, and the case
                                             2

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     is DISMISSED WITH PREJUDICE;

  3. The Clerk of Court is directed to close this case.
                                            Signed: February 4, 2025




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